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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 1:06CR00463-011
                                             )
       Plaintiff,                            )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
CORNELIUS D. HUTCHINS,                       )
                                             )
       Defendant.                            )



       This matter was heard on June 27, 2013, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney Gordon Friedman. The original

violation report was referred to Magistrate Judge Limbert who issued a Report and

Recommendation on June 11, 2013. No objections were filed by either plaintiff or defendant.

       The Court adopted the Report and Recommendation and found that the following terms

of supervision had been violated:

               1) unlawful conducted associated with arrest on

               December 7, 2012, on charge of Menacing by Stalking.

       The Court, after entertaining statements from counsel for the parties and the defendant

and considering all Section 3553(a) factors, imposed a sentence of 8 months with credit for time

served. Upon release from incarceration defendant shall complete the remainder of the term of
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supervised release originally imposed under the same conditions.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: June 28, 2013                               s/ James S. Gwin
                                                   JAMES S. GWIN
                                                   UNITED STATES DISTRICT JUDGE
